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                               EXHIBIT 7
          Case 2:21-cv-10163-GAD-APP ECF No. 28-8, PageID.1119 Filed 02/19/21 Page 2 of 4

                                                                                                                           PRICE QUOTE


                                                                                                                                            Quote 21450
                                                                                                                  Quote Date: Jul 15, 2020
                                                                                                              Quote Expiration: July 31, 2020
                                                                                                                 Sales Rep: Detroit IT Sales


       Company:                                           Ship To:                                               Bill To:

       Detroit Axle                                       Detroit Axle                                           Detroit Axle
       2000 Eight Mile Road                               2000 Eight Mile Road                                   2000 Eight Mile Road
       Ferndale, MI 48220 US                              Ferndale, MI 48220 US                                  Ferndale, MI 48220 US



                                               Item                                                      Price                 Qty            Subtotal

                                                                HARDWARE (ONE TIME)

       Lenovo T490 14" Laptop                                                                             $                          0                 $0.00
       (i5/16GB/256GB/3YR)


                                                                                                                                     Subtotal          $0.00

                                                                                                                                         Total        $0.00

     Ticket #421985 - Warehouse Manager Laptop


     AGREED TO AND ACCEPTED:




                                  07/15/2020
     ___________________________ _____________________

     50% Due Upon Acceptance. This quote does not include shipping and tax. This quote is subject to the Terms and Conditions found on our website

     (www.detroitit.com/terms). These terms are considered to be the most recent and take precedent over any other previously written or implied terms and

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                                                                                                                            PRICE QUOTE

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                      Signature Certificate
                  Document Ref.: XPJ2W-7SCXY-CFF2X-PAJC9

   Document signed by:

                    Luis Fonseca
                    Verified E-mail:
                    lfonseca@detroitaxle.com

                    IP: 12.200.188.130      Date: 15 Jul 2020 13:44:28 UTC



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